Case 1:18-cv-02063-DLI-SJB Document 97 Filed 03/31/21 Page 1 of 5 PageID #: 1445


                      PELTON GRAHAM LLC
                      ADVOCATES FOR JUSTICE


                                                                                Alison L. Mangiatordi, Esq.
 March 31, 2021                                                             Mangiatordi@PeltonGraham.com

 VIA CM/ECF

 Magistrate Judge Sanket J. Bulsara
 United States District Court
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, NY 11201

 Re:     Vimal Bhatt v. Lalit Patel Physician P.C., et al., No. 18-cv-2063 (ILG)(SJB)
         Plaintiff’s Motion for a Protective Order and Sanctions Due to Witness Tampering

 Dear Judge Bulsara:

          This firm represents Vimal Bhatt (“Bhatt” or the “Plaintiff”) in the above-referenced
 action. We write in accordance with Your Honor’s Individual Rule IV.B and Local Civil Rule 37.3
 to respectfully request that the Court grant a protective order prohibiting Defendant Lalit P. Patel,
 M.D. (“Dr. Patel”) from communicating with non-party witnesses in this matter due to a disturbing
 pattern of Dr. Patel (and potentially Defendants’ counsel) 1 threatening and/or misleading witnesses
 who have signed declarations in support of Plaintiff. Counsel for the parties met and conferred
 regarding this issue for approximately thirty (30) minutes by telephone on Monday, March 29,
 2021, as well as via email on March 30, 2021. Defendants’ counsel admits that Dr. Patel has
 reached out to the witnesses, but says he has no knowledge of the threats or misleading statements
 which Plaintiff alleges. As detailed below, Dr. Patel’s attempts to tamper with non-party witnesses
 is interfering with the discovery process and should be disallowed.
 I.      Defendants Have Threatened or Misled a Number of Witnesses to Disappear or
         Retract Their Sworn Statements

        There has been a clear pattern of witness intimidation by Defendant Dr. Patel in this case.
 Almost immediately after Plaintiff produced a declaration or letter by a number of witnesses in
 support of her allegations in the instant case, Dr. Patel called and threatened and/or intimidated
 them into either retracting all or a portion of the letter or declaration in support, or simply
 disappearing.
       For example, shortly after our office produced a signed declaration in support of Plaintiff
 from Charleen Croom (“Ms. Croom”), Dr. Patel’s former patient (see Ex. A, Declaration of Ms.
 Croom), 2 Dr. Patel called Ms. Croom a number of times, several of which she did not answer. (See

 1
   Defendants’ counsel would not confirm whether or not he was on the phone calls with Dr. Patel to the witnesses, as
 was inferred by one of the witnesses.
 2
   All exhibits referenced are attached to the Affirmation of Alison L. Mangiatordi.

 New York: 111 Broadway, Suite 1503, New York, NY 10006 Tel. 212-385-9700 Fax 212-385-0800
 San Francisco: 456 Montgomery Street, 18th Fl., San Francisco, CA 94104 Tel. 415-437-9100 Fax 212-385-0800
 www.PeltonGraham.com
Case 1:18-cv-02063-DLI-SJB Document 97 Filed 03/31/21 Page 2 of 5 PageID #: 1446

 Magistrate Judge Sanket J. Bulsara
 Plaintiff’s Motion for a Protective Order and Sanctions Due to Witness Tampering
 Page 2 of 5


 Affirmation of Alison L. Mangiatordi (“Mangiatordi Aff.”) at ¶ 5; Ex. M – Declaration of Vimal
 Bhatt (“Bhatt Decl.”) at ¶ 5). On the telephone call that she did pick up, Dr. Patel was very angry
 and told Ms. Croom that she “lied” about her last day of treatment being in 2013, because he
 claimed to have records that she remained a patient until 2016. (Mangiatordi Aff. at ¶ 7; Ex. M at
 ¶ 6). Dr. Patel told Ms. Croom that based on this “lie,” he was going to sue her if she did not retract
 her statement. (See Ex. M at ¶ 6). After recounting this to Plaintiff and Plaintiff’s counsel, Ms.
 Croom decided she no longer wants to participate in the case because she is afraid that Dr. Patel is
 going to sue her. (Id. at ¶ 8). Having been unsuccessful in getting her to “retract” her declaration,
 Defendants now seek Ms. Croom’s deposition through a subpoena. (See Ex. B (Email from Edward
 Hopkins); Ex. C (Subpoena to Ms. Croom)).
         Similarly, hours after Plaintiff’s counsel produced a signed declaration from Rosie Lee
 Williams-Langaigne (“Ms. Williams-Langaigne”), a seventy (70) year-old current patient of Dr.
 Patel’s, (see Ex. D, Declaration of Ms. Williams-Langaigne), Dr. Patel called her with whom she
 believed to be Defendants’ counsel on the line. (See Ex. F –Transcript of Conversation with Ms.
 Williams-Langaigne)). On this phone call, Dr. Patel and someone who she believed to be
 Defendants’ counsel, confused and misled Ms. Williams-Langaigne into thinking that the
 statements in her declaration were either incorrect or “taken out of context” and not relevant to the
 issues in the lawsuit. (Id.). As a result of this confusion, Ms. Williams-Langaigne agreed to sign a
 statement typed by Dr. Patel or Defendants’ counsel, even though she maintains that the statements
 in her initial declaration are true and accurate to the best of her recollection. (Id.; Ex. E - Letter
 Signed by Ms. Williams-Langaigne).
         Likewise, shortly after Plaintiffs’ counsel produced a signed declaration from Hazel
 Brooks (“Ms. Brooks”), a current patient of Dr. Patel’s, Ms. Brooks sent an email to Plaintiff’s
 counsel with Dr. Patel cc’d asking to change or retract certain portions of her declaration. (See Ex.
 G - Declaration of Ms. Brooks and Ex. H - Letter Signed by Ms. Brooks). By the same token,
 shortly after Plaintiff produced a letter of recommendation for Plaintiff by Jennilyn Baptiste (“Ms.
 Baptiste”), which she agreed to produce in this litigation (see Ex. I - First Letter by Ms. Baptiste),
 Ms. Baptiste emailed Plaintiff’s counsel a letter retracting her Letter of Recommendation, cc-ing
 Dr. Patel. (See Ex. J - Second Letter by Ms. Baptiste). Finally, as the Court is aware, Dorlisa
 Urbaez (“Ms. Urbaez”), a former employee of Defendants, signed a declaration in support of
 Plaintiff on October 1, 2018, yet later refused to sit for a deposition resulting in her declaration
 being stricken. (Ex. K – Declaration of Ms. Urbaez; Order of the Court dated December 9, 2020).
 Ms. Urbaez was worried about harassment by Dr. Patel and concerned that she would be arrested
 for refusing to go to court and face Dr. Patel. (See Ex. L – Test Messages between Ms. Bhatt and
 Ms. Urbaez).
 II.    Legal Standard
        “[P]rotective orders are an appropriate vehicle to prevent interference with potential
 witnesses.” Rissman Hendricks & Oliverio, LLP v. MIV Therapeutics, Inc., 2011 U.S. Dist. LEXIS
 121426, at *13-15 (D. Mass. Oct. 20, 2011, No. 11-10791-MLW]) (citing Disability Rights New
 Jersey, Inc. v. Velez, 2011 U.S. Dist. LEXIS 78333, at *4 (D.N.J. July 19, 2011, No. 10-
 3950(DRD)) (discussing Ben David v. Travisono, 495 F.2d 562, 564 (1st Cir. 1974) (protective


 www.PeltonGraham.com
Case 1:18-cv-02063-DLI-SJB Document 97 Filed 03/31/21 Page 3 of 5 PageID #: 1447

 Magistrate Judge Sanket J. Bulsara
 Plaintiff’s Motion for a Protective Order and Sanctions Due to Witness Tampering
 Page 3 of 5


 order prohibiting witness intimidation appropriate upon a finding “that the plaintiffs reasonably
 fear retaliation and that the court’s fact-finding may be materially impaired unless there is provided
 the tangible protection of a suitable court order.”)). A protective order prohibiting dissemination
 of the identify and location of a cooperating witness may be warranted when there is a high risk
 of witness tampering. See United States v. Basciano, 2007 U.S. Dist. LEXIS 93253, at *14
 (E.D.N.Y. Dec. 19, 2007, Nos. 03-CR-929 (NGG), 05-CR-060 (NGG)); Fazio v. United States,
 2017 U.S. Dist. LEXIS 155364, at *3 (S.D.N.Y. Sep. 22, 2017, No. 16-cv-8529) (recounting that
 where there was a charge of obstruction of justice relating to witness tampering, the Court issued
 a Protective Order enjoining defendant from contacting certain witnesses unless their counsel
 was/were present). Furthermore, protective orders are appropriate where there is reason to believe
 that a witness would be subject to physical or economic harm. United States v. Jackson, 2003 U.S.
 Dist. LEXIS 24877, at *11 (S.D.N.Y. Aug. 27, 2003).
         “[A] protective order may be issued ‘for good cause’ to ‘protect a party or person from
 annoyance, embarrassment, oppression, or undue burden or expense.’” Velez, 2011 U.S. Dist.
 LEXIS 78333, 2011 WL 2937355, at *10 (citing Fed. R. Civ. P. 26(c))); Allstate Ins. Co. v. All
 County, LLC, 2020 U.S. Dist. LEXIS 176297, at *3 (E.D.N.Y. Sep. 22, 2020, No. 19-CV-7121
 (FWK)(SJB) (citing Def. R. Civ. P. 26(c)). In determining whether “good cause” exists for a
 protective order, courts look at a number of factors, including the following: (1) evidence of
 annoyance, embarrassment, oppression, or undue burden or expense; (2) how central (or
 tangential) the evidence sought in relation to the central issues in the litigation; (3) the importance
 of the issues in the litigation to the public; (4) the parties’ stakes in the outcome of the litigation;
 (5) whether the evidence sought is available from other sources; and (6) whether discovery of the
 evidence can be conditioned on terms that would alleviate the hardship in producing it.” In re
 Initial Pub. Offering Sec. Litig. 220 F.R.D. 30, 36 (S.D.N.Y. 2003).

          A court should “exercise its inherent equitable powers to ensure full and fair proceedings”
 by issuing a protective order where there are “allegations of interference with witnesses.” Rissman,
 2011 U.S. Dist. LEXIS 121426, at *13-15 (granting a protective order that defendant “shall not
 communicate personally with, or cause a third party … to communicate on his behalf” with the
 witnesses). The court has discretion to make decisions regarding cooperating witnesses in order to
 protect the witness’s safety. Basciano, 2007 U.S. Dist. at 14 (citing United States v. Cannone, 528
 F.2d 296, 201 (2d Cir. 1975) and United States v. Garcia, 406 F. Supp. 2d 304, 306 (S.D.N.Y.
 2005) (concluding that it is appropriate in a case where a witness may face retaliation or
 intimidation to restrict circulation of witness statements and reports)). “[A]llegations that
 [defendants] have threatened the [] witnesses not to testify in the [] litigation are unsettling, in that
 such conduct implicates both witness tampering and possible spoliation of Plaintiff’s evidence.
 Certainly such conduct has no place in this litigation, and if proven, would merit serious sanction.”
 Adams v. Naphcare, Inc., 2016 US Dist. LEXIS 195066, at *49 (E.D. Va. July 25, 2016, No. 2:16-
 cv-229). Further, an order directing personnel to not retaliate against witnesses for participation in
 a lawsuit is appropriate “should sufficient findings be made that the [] witnesses reasonably fear
 retaliation, and that the court’s fact-finding may be materially impaired unless a protective order
 is entered.” Id. at *34.



 www.PeltonGraham.com
Case 1:18-cv-02063-DLI-SJB Document 97 Filed 03/31/21 Page 4 of 5 PageID #: 1448

 Magistrate Judge Sanket J. Bulsara
 Plaintiff’s Motion for a Protective Order and Sanctions Due to Witness Tampering
 Page 4 of 5


         In addition, the Court has inherent power to impose sanctions on Defendants based on the
 control necessarily vested in courts to manage their own affairs so as to achieve the orderly and
 expeditious disposition of cases by punishing and deterring abuses of the judicial process. See
 Bryant v. City of Hartford, 2020 U.S. Dist. LEXIS 116486, at *16-17 (D. Conn. July 2, 2020, No.
 3:17-cv-1374 (VAB)) (internal citations omitted); Chambers v. NASCO, Inc. 501 U.S. 32, 43-45
 (1991); United States ex rel. O’Keefe v. McDonnell-Douglas Corp., 961 F. Supp. 1288 (E.D. Mo.
 1997), aff’d 132 F.3d 1252 (8th Cir. 1998). Sanctions are appropriate where defendants implement
 abusive litigation practices, such as witness tampering. See Bryant, 2020 U.S. Dist. LEXIS
 116486, at *16 (citations omitted); U.S. v. Jones, 466 So.2d 292 (Fla. Dist. Ct. App. 1985)
 (granting request for sanctions where defendant told a witness to fraudulently claim not to
 remember certain events). The decision whether to impose sanctions is ultimately in the Court’s
 discretion. Shanchun Yu v. Diguojjaoyu, Inc. 2019 U.S. Dist. LEXIS 201808, at *11 (S.D.N.Y.
 Nov. 20, 2019, No. 18-cv-7303 (JMF)) (awarding sanctions of the reasonable attorneys’ fees for
 costs incurred in making a motion). “[T]o warrant an award of attorney’s fees pursuant to the
 Court’s inherent authority, the Court must find that the lawyer or party being sanctioned acted in
 bad faith….” Id. “[I]ntentional behavior, actions taken in bad faith, or grossly negligent behavior
 justify severe disciplinary sanctions.” Id. (quoting Borsanvi v. Huggins, 2019 U.S. Dist. LEXIS
 173926, 2019 WL 4911188, at *6 (E.D.N.Y. Sept. 30, 2019)).
 III.   The Egregious Allegations of Witness Tampering Warrant a Protective Order and
        Sanctions
          Good cause exists to grant a protective order in this matter. Balancing the interests of the
 parties and looking to the factors set forth In Re Initial Pub. Offering, 220 F.R.D. at 36, there is
 (1) clear evidence of annoyance, embarrassment, oppression, or undue burden or expense in that
 Defendant has threatened to sue a witness and misled others into withdrawing truthful portions of
 their declarations; (2) preservation of witnesses of the dates of Plaintiff’s employment and the
 relationship between the parties is central to the issues in this litigation; (3) the issues at stake in
 this litigation (i.e., unpaid wages and sexual harassment) are important to the public’s interest in
 fairness in the workplace; (4) the parties’ reputation and finances are at stakes in the outcome of
 the litigation; and perhaps most importantly (5/6) rather than reach out to witnesses informally,
 Defendants’ counsel has the ability to take their deposition and cross-examine them, thus there
 would be no prejudice to Defendants if the Court were to grant a protective order.

          While Defendants would typically be entitled to communicate with witnesses, it is criminal
 to threaten and mislead witnesses for their participation in a lawsuit. 18 U.S.C. § 1512(b) sets forth
 that it is a federal offense to: (1) knowingly intimidate, threaten or corruptly persuade another
 person, or attempt to do so, or engage “in misleading conduct toward another person, with intent
 to influence, delay or prevent the testimony of another person in an official proceeding”; or (2)(A)
 “cause or induce any person to withhold testimony…from an official proceeding.” In the criminal
 context under 18 U.C.S. § 1514(b)(1) “the court can issue a protective order if the government
 proves by a preponderance of the evidence either (1) that harassment of an identified victim or
 witness exists or (2) that such order is necessary to prevent and restrain an offense under 18 U.S.C.
 § 1512(b)(1). United States v. Carmichael, 326 F. Supp. 1267, 1270 (M.D. Ala. 2004).


 www.PeltonGraham.com
Case 1:18-cv-02063-DLI-SJB Document 97 Filed 03/31/21 Page 5 of 5 PageID #: 1449

 Magistrate Judge Sanket J. Bulsara
 Plaintiff’s Motion for a Protective Order and Sanctions Due to Witness Tampering
 Page 5 of 5


          Due to the extremely serious allegations herein and the lack of prejudice to Defendants if
 the motion is granted, Plaintiff respectfully requests that the Court grant an order of protection
 prohibiting Dr. Patel from communicating personally with, or causing a third party to communicate
 with, Plaintiff’s witnesses on his behalf, with an exception for communications for the sole purpose
 of treating any witness that is a current patient of Dr. Patel. Moreover, Plaintiff seeks that the Court
 impose sanctions on Defendants including reasonable attorneys’ fees incurred in connection with
 this motion due to Defendants’ bad faith as set forth herein and the irreparable injury Defendants’
 behavior has caused to Plaintiff and to the fairness of the discovery process.
         We appreciate Your Honor’s attention to this matter.


                                                        Respectfully submitted,

                                                        /s/ Alison L. Mangiatordi

                                                        Alison L. Mangiatordi, Esq. of
                                                        PELTON GRAHAM LLC


 Encl.

 cc:     All counsel (via ECF)




 www.PeltonGraham.com
